MANDATE
     Case 1:20-cr-00306-NGG Document 332 Filed 09/06/23 Page 1 of 1 PageID #: 4019




                           UNITED STATES COURT OF APPEALS
                                      FOR THE
                                   SECOND CIRCUIT

             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     15th day of August, two thousand twenty-three.

     Before:     Joseph F. Bianco,
                 Eunice C. Lee,
                 Sarah A.L. Merriam,
                        Circuit Judges.
     ________________________________

      United States of America,
                                                        ORDER
                   Appellee,
                                                        Docket Nos. 23-6709(L), 23-6755(CON)
        v.

      Christopher Chierchio, Frangesco
      Russo, AKA Frankie, Francis Smookler,

                   Defendants,

      Jason Kurland, AKA Jay,

                Defendant - Appellant.
     ________________________________

            Appellant moves for bail pending the disposition of his direct appeal of his judgment of
     conviction.

           IT IS HEREBY ORDERED that the motion is DENIED. The appeal under Docket No.
     23-6709 is DISMISSED.

                                                         For the Court:
                                                         Catherine O’Hagan Wolfe,
                                                         Clerk of Court




MANDATE ISSUED ON 09/06/2023
